 

Case 4:18-cV-00161 Document 69 Filed in TXSD on 08/08/18 Page 1 of 1
Civil Courtroom Minutes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

JUDGE Lynn N. Hughes
CAsE MANAGER Glenda Hassan
LAW CLERK
DATE August 8, 2018
TIME a.rn.
`- CD C .rn.
CIVIL ACTION H 18 161
Kao Lee Yang, et al.
STYLE versus
Cherarnie Marine, LLC, et al.
DOCKET ENTRY
l:| Conference; l Hearing; day |:l Bench |:] Jury Trial (Rptr:_FL_Wa_rner_)
'R&<m /P\"OJ\‘_)\J for lPtf. # EDefr. #
derem\j Herscl\ al`+,, |~l¢m>lcl Walsn, for l:l Prf. # lDefr. # L\`Ql\l~m@ LLC,
w~d~ l~l`€¢/ l<o.mc"\w for EPtf.# l:lDeft. #

 

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|:| All motions not expressly decided are denied Without prejudice.
|:l Evidence taken [exhibits or testimony].
l Argument heard 0n: [| all pending motions; l:l these topics:
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l:l Motions taken under advisement
I Order to be entered
I:l Internal review set:
l:l Rulings orally rendered 0n: »l_/l/\.€, \m,(~h`l,:> CUN, 'O/»Qio'W-Lol ‘;Y‘D'W\

 

